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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.                                      CRIMINAL       NO. 21-cr-399 (RDM)

ROMAN STERLINGOV,

                      Defendant.

                           DECLARATION         BY LUKE SCHOLL

       I, Luke Scholl, depose and state as follows:

       1.     I am a Staff Operations Specialist with the Department of Justice, Federal Bureau

of Investigation (FBI) and have been so employed since 2015. I am currently detailed to the

Department of Justice's National Cryptocurrency Enforcement Team. I was previously assigned

to an intelligence squad and embedded on a Cyber Criminal Squad in FBI Newark Division. I

have investigative experience in cases involving virtual currency, money laundering, the darknet,

and computer intrusions. In the course of these investigations, I have reviewed legal returns from

Virtual Asset Service Providers (VASPs), such as Kraken and LocalBitcoins. I have operational

experience with undercover cryptocurrency transactions and cryptocurrency seizure. I have been

a member of the FBI's Virtual Currency Response Team since its inception in 2020. I have used

blockchain analysis software tools since 2016. I have received training from Chainalysis Inc.,

including   "Advanced    Chainalysis    Training",    obtained   a    Chainalysis   Cryptocurrency

Fundamentals Course Certification, and currently possess a Chainalysis Reactor Certification.
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           2.       This report is based on my reVlew of the following cryptocurrency accounts

associated with Roman Sterlingov ("STERLINGOV") including

                    a. Records obtained from Payward Ventures, Inc. dba Kraken ("Kraken")                             I


                         including two accounts opened by STERLINGOV: account #

                                  DGMY, held in the name of Roman Sterlingov ("TARGET ACCOUNT

                         1"); and account #                              Q5Y, held in the name of TO THE

                         MOON LTD I ROMAN ("TARGET ACCOUNT 2").

                    b. Records obtained from LocalBitcoins2 associated with the following account:

                         account usemame:          gothecoin held in the name of Roman Sterlingov

                         ("LOCALBITCOINS ACCOUNT 1").

           3.       In addition, I reviewed records documenting undercover transactions conducted by

IRS-CI during the course of their investigation into STERLINGOV and BITCOIN FOG.

                          Section A - Attribution of the BITCOIN FOG Cluster

           4.       According to the IRS-CI documents, on or about 911112019 an IRS-CI Special

Agent conducted an undercover transaction to BITCOIN FOG.                            The IRS-CI Special Agent

accessed        BITCOIN       FOG      via   its Tor Hidden          Service    address     on the      darkweb      at

foggedriztrcar2.onion         and received a Bitcoin address3                (the UNDERCOVER               DEPOSIT

ADDRESS) to deposit funds to their BITCOIN FOG account.




1   Kraken was a cryptocurrency exchange located in the United States and offering custodial wallet services.
2   LocalBitcoins was a peer-to-peer cryptocurrency exchange located in Finland and offering custodial wallet services.
3 Bitcoin are sent to and received from Bitcoin "addresses." A Bitcoin address is somewhat analogous to a bank
account number and is represented as a 26-to-35-character-long, case-sensitive string of letters and numbers. Each
Bitcoin address is controlled through the use of a unique corresponding private key, a cryptographic equivalent of a
password needed to access the address. Only the holder of an address' private key can authorize any transfers from
that address to another Bitcoin address.

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         5.       Analysis I conducted identified additional addresses controlled by BITCOIN FOG

through the use of WalletExplorer.com, a reputable open source blockchain analysis tool.

According to WalletExplorer.com, its algorithm groups Bitcoin addresses into wallets based on

co-spending4. On or about 8119/2022, a search of the UNDERCOVER DEPOSIT ADDRESS, on

WalletExplorer.com revealed that the UNDERCOVER DEPOSIT ADDRESS belonged to a wallet

which     contained      approximately        244,975       additional     Bitcoin     addresses.         Furthermore,

WalletExplorer.com had attributed this wallet independently to BITCOIN FOG.

         6.       The FBI has access to software tools that analyze financial transactions on the

Bitcoin Blockchain5. I have found these tools to be reliable in numerous previous investigations.

Multiple tools corroborated the attribution of the UNDERCOVER DEPOSIT ADDRESS to

BITCOIN FOG. One such software tool identified a cluster of approximately 925,000 Bitcoin

addresses attributed to BITCOIN FOG (the BITCOIN FOG CLUSTER), which contained the

UNDERCOVER DEPOSIT ADDRESS.                             The analysis contained in this report relied upon

attribution of addresses in the BITCOIN FOG CLUSTER provided by this software tool in the

determination of the source of funds in all three STERLINGOV accounts.

              Section B - Tracing Funds in STERLINGOV Accounts to Bitcoin Fog

                                      LOCALBITCOINS ACCOUNT 1

         7.       According to records provided by LocalBitcoins,                          STERLINGOV             opened

LOCALBITCOINS ACCOUNT 1 with the usemame "gothecoin" in the name of ROMAN


4 Co-Spending is when two or more bitcoin addresses are used as inputs to the same transaction, which indicates that
a single entity holds the private keys for all of the addresses used as inputs to this transaction. This is the most common
way to attribute addresses as being contained in the same cryptocurrency wallet and belonging to the same entity.
This relationship is transitive such that if Address A and Address B co-spend in one transaction, and Address Band
Address C co-spend in a second transaction, it can be deduced the same entity controls addresses A, B, and C.
5 A blockchain is a ledger organized into a series of chronological, interlinked data blocks and secured by
cryptography. Many virtual assets rely on public blockchains, which allow anyone to see a record of every transaction
on the network.

                                                            3
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STERLINGOV on 9/20/2012.                    According to these records, from account openmg through

1113/2022, LOCALBITCOINS ACCOUNT 1 received 73 deposits totaling approximately 259.81

BTC.

           8.       Blockchain analysis I conducted based on the deposit addresses belonging to

LOCALBITCOINS ACCOUNT 1 identified in these records indicated that LOCALBITCOINS

ACCOUNT 1 received a total of approximately 259.67 BTC in approximately 80 deposits6, valued

at approximately $870,9417.            In addition to transactions recorded on the Bitcoin Blockchain, the

LocalBitcoins records indicated a single transaction internal to LocalBitcoins.com occurred on or

about 9/25/2017         of approximately 0.15 Bitcoin, valued at approximately $553. The total value

deposited to the account was approximately 259.82 BTC, valued at approximately $871,494.

Blockchain analysis indicated that deposits to LOCALBITCOINS ACCOUNT 1 traceable to the

BITCOIN FOG CLUSTER totaled approximately 99.23 BTC, valued at approximately $629,923

as detailed below.

           9.       Approximately nine deposits to LOCALBITCOINS ACCOUNT 1 came directly

from the BITCOIN FOG CLUSTER totaling approximately 64.33 BTC, valued at approximately

$585,804.       These deposits occurred from on or about 1211112017 to on or about 10117/2018.




6 The difference of seven transactions between the LocalBitcoins records and the blockchain analysis appeared to
result from grouped transactions in the LocalB itcoins records i.n2012 and 2013. The LocalBitcoins records Iisted two
deposits in this time period without a corresponding transaction hash with deposit addresses and deposit values
matching the sum of multiple deposits recorded on the Bitcoin blockchain to those addresses.
7   USD value calculations of bitcoin deposits throughout this report are based on the average daily Bitcoin price on the
date of each deposit.


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           10.      Approximately 29 deposits to LOCALBITCOINS ACCOUNT 1 were indirectly

traceable8 to the BITCOIN FOG CLUSTER totaling approximately 34.92 BTC, valued at

approximately $44,192. These deposits occurred from on or about 10/29/2015                        to 9/2712019.

                                             TARGET ACCOUNT 1

           11.      According to records provided by Kraken, STERLINGOV opened TARGET

ACCOUNT 1 in the name of Roman Sterlingov on or about March 18,2014. According to these

records, from account opening through on or about 5/24/2021 , TARGET ACCOUNT 1 received

29 deposits totaling approximately 111.39 BTC and one deposit of approximately 9.56 Bitcoin

Cash (BCH). 9

           12.      Blockchain analysis I conducted based on the deposit addresses belonging to

TARGET ACCOUNT 1 identified in these records indicated TARGET ACCOUNT 1 received

approximately 29 deposits totaling approximately                     111.39 BTC, valued at approximately

$418,394.10 In addition, TARGET ACCOUNT 1 received a single Bitcoin Cash (BCH) deposit of

9.56 BCH valued at approximately $12,670. The total USD value deposited to the account was

approximately $431,064. The majority of these deposits, both in the number of Bitcoin and in




8 "Indirectly traceable" indicates that the transactions on the Bitcoin Blockchain can provably show a path of multiple
transactions that moved specific funds between two addresses or clusters. This path necessarily includes one or more
intermediary Bitcoin addresses.
(Example: If Address A sends I BTC to Address B in Transactions I, then Address B sends the same I BTC to
Address C in Transactions 2, the funds deposited to address C would be indirectly traceable to Address A.)
In contrast, direct transactions are those in which funds are sent directly between two addresses or clusters in a single
transaction recorded on the Bitcoin Blockchain (without any intermediary addresses).
9   Bitcoin Cash is a separate cryptocurrency which forked from the Bitcoin network on or about August 1st, 2017.
10 These figures differ from those previously reported by lRS-CI investigators in the seizure warrant affidavit for

TARGET ACCOUNT I and TARGET ACCOUNT 2. I assess that this difference was likely caused by the inclusion
of Kraken withdrawal addresses associated with TARGET ACCOUNT I in the IRS-CI accounting. The analysis in
this document included only those addresses reported by Kraken as deposit addresses of TARGET ACCOUNT 1.

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USD value, came directly from withdrawals from LOCALBITCOINS ACCOUNT 1 or were

indirectly traceable to the BITCOIN FOG CLUSTER as detailed below.

       13.    Approximately four deposits to TARGET ACCOUNT 1 came directly from

LOCALBITCOINS ACCOUNT 1 and totaled approximately 15.75 BTC, valued at approximately

$164,885. These transactions occurred between on or about 5/26/2017   and on or about 9/23/2019.

       14.    Approximately 16 deposits to TARGET ACCOUNT 1 included funds indirectly

traceable to the BITCOIN FOG CLUSTER totaling approximately 83.84 BTC, valued at

approximately $247,396. These deposits occurred from on or about 9/23/2014        to on or about

11117/2020.

       15.    These two sources of funds combined accounted for approximately 89% of the total

Bitcoin and 96% of the total USD value deposited to TARGET ACCOUNT 1.

                                   TARGET ACCOUNT 2

       16.    According to records provided by Kraken, STERLINGOV opened TARGET

ACOUNT 2 in the name of TO THE MOON LTD I ROMAN on or about December 16, 2015.

According to these records, from account opening through on or about 5/24/2021         TARGET

ACCOUNT 2 received approximately 15 deposits totaling approximately 14.37 BTC.

       17.    Blockchain analysis I conducted based on the deposit addresses belonging to

TARGET ACCOUNT 2 identified in these records revealed that TARGET ACCOUNT 2 received

approximately 15 deposits totaling approximately 14.37 BTC, valued at approximately $13,158.

The majority of these deposits, both in the number of Bitcoin deposited and in USD value, came

directly from withdrawals from LOCALBITCOINS ACCOUNT 1 or were indirectly traceable to

the BITCOIN FOG CLUSTER as detailed below.




                                               6
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           18.        A single deposit to TARGET ACCOUNT 2 came directly from LOCALBITCOINS

ACCOUNT            1 of approximately       0.57 BTC, valued at approximately                    $946.    This transaction

occurred on or about 5/9/2017.

           19.        Approximately     six deposits to TARGET               ACCOUNT        2 included funds indirectly

traceable        to the       BITCOIN   FOG        Cluster      totaling    approximately        11.47   BTC,   valued   at

approximately         $7,871.     These transactions         occurred from on or about 4/5/2016 to on or about

11112/2017.

           20.        These two sources of funds combined accounted for approximately                      83% of the total

Bitcoin and 67% of the total USD value deposited to TARGET ACCOUNT                                  2.

Characterization of Indirect Transfers of Funds from the BITCOIN FOG CLUSTER to
Accounts Belonging to STERLINGOV

           21.        Blockchain analysis documented in this report identified many separate paths funds

took from the BITCOIN FOG CLUSTER                        to STERLINGOV            accounts including both direct and

indirect     paths.       In many cases, the indirect            paths consisted     of two transactions        and single

intermediary       address, as shown in the example below.

           Example:




                      _____         11.86 BTC'__       ___'__     101
                                                                           ___     __,;10.97 BTC            _
                                    7/24/2016                                         8/8/aJ16
  BITCOIN FOG CLUSTER                                           iPUggMSB                                 TARGET ACCOUNT 2




            22.        In other cases, the indirect paths included multiple transactions                  and intermediary

addresses.        Indirect paths ranged from as few as one intem1ediary                     address to approximately     40

intermediary        addresses.    Generally, most of these indirect paths consisted of transactions                forming




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what are known as peel chainsll•              In the example below, and other cases in this analysis, based on

my training and experience          I believe it is likely that all of the intermediary                     addresses in the peel

chain are contained in a single Bitcoin wallet and controlled by the same entity.                                     The peel chain

addresses in the example below are designated by gray circles.

         Example:




                               53.20 BTC            44.55 BTC_          '10.61 BTC             37.17 BTC
                           -5/1/2015-            -5/3/2015           -5/10/2015-           -5/13/2015-
                     15c8dzNz              14CVRWtV          186JzJ3l                lEJygTbq              lAnGRQe


                  /
            57.22 BTC
                                                                                                                 \   6.89 BTC
             5/1/2015                                                                                                5/21/2015


           /                                                                                                              \
 BlTCOIN
       FOGCLUSTeR                                                                                                       TARGET ACCOUNT 1




I declare under penalty of perj Ury that the foregoing is true and correct.




                                                          1iJKESCHOLL
                                                           STAFF OPERATIONS SPECIALIST
                                                           FEDERAL BUREAU OF INVESTIGATION

                                                           August 25,2022




II A peel chain is a pattern of Bitcoin transactions that occurs when a relatively large amount of Bitcoin is gradually

spent in multiple, sequential transactions such that each transaction has two outputs; one output constituting a payment
to a separate entity, and one output consisting of the "change" (or the remainder of the initial value) sent to a new
Bitcoin address which is controlled by the same entity as the original address. Blockchain analysis is required to
assess which output represents a payment and which output represents the "change" and is therefore controlled by the
original entity.

                                                                 8
